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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 23-cr-20464-BLOOM

 UNITED STATES OF AMERICA,

        Plaintiff,

 vs.

 VICTOR MANUEL ROCHA,

       Defendant
 ___________________________________________/


                                ORDER SETTING TRIAL DATE

        THIS CAUSE is set for Criminal Jury Trial at the Wilkie D. Ferguson Jr. Courthouse, 400

 North Miami Avenue, Courtroom 10-2, Miami, Florida, during the two-week period commencing

 on Monday, January 29, 2024 at 9:00 a.m., or as soon thereafter as the case may be called. A

 Calendar Call will be held at 1:30 p.m. on Tuesday, January 23, 2024, at the Wilkie D.

 Ferguson, Jr. Courthouse, 400 North Miami Avenue, Courtroom 10-2, Miami, Florida. It is

 further ORDERED as follows:

        1.      All requests for Writs Ad Testificandum must be filed not later than 14 business

                days prior to the first day of the scheduled trial period.

        2.      All responses pursuant to the Standing Discovery Order and/or Local Rule 88.10

                shall be provided in a timely fashion in accordance with the dates scheduled by the

                magistrate judge. Noncompliance may result in sanctions. Any notice submitted

                pursuant to Federal Rule of Evidence 404(b) shall include a specific factual basis

                for the evidence sought to be introduced.

        3.      All motions filed shall be accompanied by a written statement certifying that
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                  counsel for the moving party has conferred with opposing counsel in a good faith

                  effort to resolve by agreement the subject matter of the motion, where required by

                  Local Rule 88.9. The deadline for all Pre-Trial Motions, including Motions to

                  Suppress and Motions in Limine shall be filed the Friday prior to the calendar call

                  date.

           4.     Counsel shall be prepared to conduct limited voir dire following the Court’s

                  questioning of the panel. Prior to Calendar Call, counsel shall also file proposed

                  voir dire questions.     Proposed jury instructions, in typed form, including

                  substantive charges and defenses, shall be submitted to the Court prior to Calendar

                  Call, in Word format, via e-mail to bloom@flsd.uscourts.gov. Instructions for

                  filing proposed documents may be viewed at http://www.flsd.uscourts.gov.

           5.     Prior to Calendar Call, all counsel shall file a list of proposed witnesses and/or

                  exhibits to be presented at trial. All exhibits to be offered into evidence or marked

                  for identification must be pre-labeled in accordance with the proposed exhibit list.

                  (Government exhibits are to be designated numerically; defense exhibits,

                  alphabetically).

           6.     If either party seeks to introduce transcript(s) at the trial, such shall be exchanged

                  with all counsel before the scheduled day of trial. If a transcript cannot be agreed

                  upon, each party shall be prepared to produce its own version for the trier of fact.

           7.     All anticipated Jencks Act 1 material shall be turned over to defense counsel not


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     18 U.S.C. § 3500

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              later than the morning of the first day of trial. The material shall include a face

              sheet for defense counsel to sign and date, acknowledging receipt.

       8.     Upon receipt of this order, counsel are directed to certify with the Court’s

              courtroom deputy the necessity of an interpreter for the Defendant. Counsel are

              further instructed to notify the Court, at least 24 hours prior to any hearings or trial,

              if an interpreter is required.

       9.     Counsel are instructed that arrangements for appropriate clothing for defendants in

              custody must be made with the Bureau of Prisons at least seven (7) days prior to

              the scheduled trial date.

       10.    Counsel are advised to comply with Local Rule 88.5, requiring the filing of

              speedy trial reports every 20 days hereafter until the time of trial or plea.

       11.    Counsel are reminded that pursuant to the CM/ECF administrative procedures,

              proposed orders shall be submitted to the court by e-mail in word format at

              bloom@flsd.uscourts.gov.

              DONE AND ORDERED in Chambers, at Miami, Florida, on December 5, 2023.




                                                      _________________________________
                                                      BETH BLOOM
                                                      UNITED STATES DISTRICT JUDGE
 cc:   counsel of record




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